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 %A0 2451)      (Rev. 12/03) Judgment in a Criminal Case for Revocations




                         SOUTHERN                                     District of
                                                                                                                                                  -
          UNITED STATES OF AMERICA
                                 v.
                                                                             JUDGMENT IN A CRIMINAL CASE
                                                                                                                                     "OF,
                                                                             (For Revocation of Probation or S u p e ~ i s e dRelease)
                                                                                                                                              $
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                                                                                                                                                  c%e?
                 STEPHEN L. NEVINGS

                                                                             Case Number: 4:99CR40036-003-JPG
                                                                             USM Number: 04650-025
                                                                              Melissa Day, FPD
                                                                             Defendant's Attorney
THE DEFENDANT:
d admitted guilt to violation of condition(s) in petition                                      of the term of supervision.
     was found in violation of condition(s)                                                after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                  Nature of Violation                                                               Violation Ended
 Statutory                            The defendant committed offense of DUI, Illegal Trans. of


 Statutory                            The defendant admitted to illegal possession of drugs                          2/23/2007

 Wandard # 7                          The d&q$mnt'i%pl
                                               ,,              akqhol tolibtoess                                     2/5/2007
       The defendant is sentenced as provided in pages 2 through                    5      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition(s)                                        and is discharged as to such violation(s) condition,


                                                          'r
          It is ordered that the defendant must noti the United States attorney for this district within 30 days of any
change of name, residence, or mailing address uotl all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. !f ordered to pay restitution, the defendant must notify the court and Un~tedStates attomey of matenal changes m
economic cucumstances.

Defendant's Soc. Sec. No.:     XXX-XX-XXXX                                   5/21/2007
                                                                             Date of Imposition of Judgment
Defendant's Date of Birth:



Defendant's Residence Address:

 Mt. Vernon, IL
                                                                              J. Phil Gilbert                                District Judge
                                                                             Name of Judge                                   Title of Judge



                                                                             Date
Defendant's Mailing Address:

Same as above
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A 0 245D      (Rev. 12103) Judgment in a Criminal Case for Revocations
              Sheet 1A


DEFENDANT: STEPHEN L. NEVINGS
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                                                                ADDITIONAL VIOLATIONS
                                                                                                                                                       Violation
Violation Number                  Nature of Violation                                                                                                  Concluded
    Standard # 11                  The defendant failed to notify probation of his arrest

    Special                        The defendant failed to rqxwt.fOr oounsellhg                                                                         12/28/2006


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 A 0 245D      (Rev. 12/03 Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                        Judgment-   Page   3of           5
 DEFENDANT: STEPHEN L. NEVINGS
  CASE NUMBER: 4:99CR40036-003-JPG


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
8 months



            The court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
                 at                                       a.m.           p.m.    on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
  I have executed this judgment as follows:




            Defendant delivered on                                                         to

  at                                                     with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                                BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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A 0 245D     (Rev. 12/03) Judgment in a Criminal Case for Revocations
             Sheet 3 -Supervised Release


DEFENDANT: STEPHEN L. NEVINGS                                                                              Judgment-Page   4of                  5
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
48 months



         The defendant must report to the probation ofice in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prtsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
B( The defendant shall not possess a fiream, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
B( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a f!ne or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule otJpayments sheet of thts judgment.
         The defendant must comply with the standardconditions thathave been adoptedby this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
        the defendant shall not leave the judicial district without the permission of the court or probation officer;
        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
        the defendant shall support his or her dependents and meet other family responsibilities;
        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
        the defendant shall notify the probation offtce at least ten days prior to any change in residence or employment;
        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphemalta related to any controlled substances, except as prescrtbed by a physician;
         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
        the defendant shall not associate,with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permtsston to do so by the probatton officer;
        the defendant shall permit a,probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in platn view of the probatton officer;
        the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as dirsctcd b) tlie robation officer, the defendant shall notify third panlds pirisks that may bc o c c ~ s i o ~by
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        rccord or persuna!,history,or characte~jstic,and shall permit thc probauon ulfic~rro makc buch not~ficat~ons             and to conllrm the
        defenkant s cornpllance u nth such notltlcation rcqulretnent
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A 0 245D    (Rev. 12103) Judgment in a Criminal Case far Revocations
            Shzet 3C - Supervised Release


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                                         SPECIAL CONDITIONS OF SUPERVISION
The defendant shall spend the first 90 days in Casseyville, IL treatment center.

Once the defendant has completed the 90 days in Casseyville, the defendant shall reside in a Community Corrections
Center at the direction of the probation officer for not more than 180 days or until discharged by the center director.

The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
deendence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence andlor participation in a residential treatment facility, or residential reentry center. The number of drug tests
shall not exceed 52 tests in a one-year period. Any participation will require complete abstinence from all alcoholic
beverages. The defendant shall pay for the costs associated with substance counseling andlor testing based on a co-pay
sliding fee scale as directed and approved by the United States Probation Office. Co-pay shall never exceed the total
costs of counseling.
